1
2
3
4
5
6
7
8                            UNITED STATES DISTRICT COURT
9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11   IN RE PORTFOLIO RECOVERY                       Case No.: 11md02295 JAH - BGS
     ASSOCIATES, LLC, TELEPHONE
12
     CONSUMER PROTECTION ACT                        Member cases:
13   LITIGATION                                       All member cases
14
                                                    ORDER VACATING HEARING
15
16
17
           After a careful review of the parties’ submissions, the Court deems Defendant’s
18
     motion stay (Doc. No. 737) suitable for adjudication without oral argument. See CivLR
19
     7.1 (d.1). Accordingly, IT IS HEREBY ORDERED the motion is taken under submission
20
     without oral argument and the hearing set for December 10, 2018 is VACATED. The
21
     Court will issue an order in due course.
22
     DATED:      December 3, 2018
23
24                                              _________________________________
                                                JOHN A. HOUSTON
25                                              United States District Judge
26
27
28

                                                1
                                                                         11md02295 JAH - BGS
